      Case 2:08-cv-01291-HGB-ALC Document 26 Filed 04/10/08 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

FREDI GARCIA, MISBEL                                               CIVIL ACTION
GARCIA, JOSE SALVADOE
VALLADARES, DENIS AMADOR-
DIAZ, EMILIO SALGUETO, REYES
AGULIA-GARCIA, GUSTAVO
GARCIA, ILSA CANALES
JOSE EFRAIN GARCIA-
HERNANDEZ, EDGAR GOVANTI
GARCIA-MARTINEZ, AND SANTOS
LARA, ON BEHALF OF THEMSELVES
AND ALL OTHERS SIMILARLY
SITUATED

VERSUS                                                             NO. 08-1291

AUDUBON COMMUNITIES                                                SECTION “C” (5)
MANAGEMENT, LLC,
AUDUBON-ALGIERS, LLC,
AND CHARLES REHYER

                                            ORDER

       Before the Court is an ex parte Motion to Expedite the Disposition of Plaintiffs’

Second Emergency Motion for U Visa Certification, filed by the plaintiffs, Fredi Garcia, Misbel

Garcia, Jose Salvadoe Valladares, Denis Amador-Diaz, Emilio Salgueto, Reyes Agulia-Garcia,

Gustavo Garcia, Ilsa Canales Jose Efrain Garcia-Hernandez, Edgar Govanti Garcia-Martinez,

and Santos Lara (“Plaintiffs”) (Rec. Doc. 25).

       IT IS ORDERED that any opposition to the Plaintiffs’ 2nd Motion for Certification shall be filed

                                                 1
      Case 2:08-cv-01291-HGB-ALC Document 26 Filed 04/10/08 Page 2 of 2




by April 14, 2008 at noon. At that time, the Emergency Motion for U Visa Certification shall be

taken under advisement and determined by the undersigned without a hearing.

       New Orleans, Louisiana, this 9th day of April, 2008.



                                                   _______________________________
                                                   HELEN G. BERRIGAN
                                                   UNITED STATES DISTRICT JUDGE




                                               2
